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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-62191-CIV-ZLOCH


  CHARLES MCKAY,

             Plaintiff,                     FINAL ORDER OF DISMISSAL

  vs.

  STELLAR RECOVERY, INC.,

             Defendant.
                                      /
        THIS MATTER is before the Court upon the Stipulation Of
  Dismissal (DE 10), filed herein by both Parties.            The Court has
  carefully reviewed said Stipulation, the entire court file and is
  otherwise fully advised in the premises.
        Accordingly, after due consideration, it is
        ORDERED AND ADJUDGED as follows:
        1. The Parties’ Stipulation Of Dismissal (DE 10) be and the
  same is hereby approved, adopted, and ratified by the Court; and
        2. The above-styled cause be and the same is hereby DISMISSED
  with prejudice; and
        3. To the extent not otherwise disposed of herein, all pending
  Motions be and the same are hereby DENIED as moot.
        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward
  County, Florida, this        29th       day of November, 2016.



                                      WILLIAM J. ZLOCH
                                      United States District Judge


  Copies furnished:

  All Counsel of Record
